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NOV 29 2021

AE SEALE
CLERK U.S. DISTRICT COURT

i 7 OF WASHINGTON
WESTERN DISTRICT GF WASHINGTON

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

PLAINTIFF: Case No.: 21-cv-00746 JCC
MYRIAM ZAYAS

VS.

SECOND REPLY TO DISMISSAL
LINDA NGUYEN, ATTACHED EXHIBITS
BREN SMITH,

DANI LALONDE,
JAMAAL MAGEE,
JULIE DECAMP,
RAMONA HARKINS,

DEFENDANTS,

One more thing before this is over, since this court thinks | do not know what! am doing. |
was wondering if Brendan Lenihan could provide the court with evidence that | abused any of my
children that is actual evidence that they were hurt by me. Because the following 40+ pages should
only exist if | abused my children otherwise your clients have been harassing me for 20 years,
unlawfully and should be in jail. The following pages attached are contact from CPS to me only, if
it were from me to them, there would be thousands of pages, we would not have room or time. Do
his clients have actual evidence that my children were hurt? Any of them. Not by a dog, not by their
fathers, not by my dirty pee, but by me. | will be back in Feb 2022. The list is long as you can see, no
statute of limitations on Section 1983.

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Medical Neglect

| Founded

Support of Findings/CAPTA Narrative

Il. Investigative Assessment Participants
CI. | Name Gender DOB Language | Roles
LJ | Myriam | Female 11/05/1980 | English | IN-SB

|
[| Female RermEM | English Vv

Zz

|
Ill. Contacts
Activity Participant Location Contact Creation
Date/Time Date/Time

Contact - 2/28/01 7:10 2/28/01 7:10
Collateral AM AM
Child - ZA 2/7/01 1:00 PM | 2/7/01 1:00 PM
Attempted

Initial Face to
Face

Child -
Attempted
Initial Face to
Face

ZA

2/7/01 1:00 PM

2/7/01 1:00 PM

Child - ATE RTE 2/7/01 1:00 PM | 2/7/01 1:00 PM
Attempted a

Initial Face is

Face

Child - aa 2/7/01 1:00 PM | 2/7/01 1:00 PM
Attempted are

Initial Face to

Face

Child - Za Myriam 2/7/01 1:00 PM | 2/7/01 1:00 PM
Attempted

Initial Face to

Face _

Child - Za Myriam 2/7/01 1:00 PM | 2/7/01 1:00 PM
Attempted

Initial Face to

Face

Contact - Health 5/18/01 12:00 5/18/01 12:00
Contact [a s. AM AM

Contact - Health | Za) Myriam 5/18/01 12:00 | 5/18/01 12:00

Contact

AM

AM

Child -

5/16/01 12:00

5/16/01 12:00

Za Myriam
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DCYF-000121

Za Myriam

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Telephone AM AM
Contact
Child - 5/16/01 12:00 | 5/16/01 12:00
Telephone eae AM AM
Contact
Parent - 5/16/01 12:00 | 5/16/01 12:00
Bio/Adopt or na. AM AM
Guardian
Contact
(Includes face to
face)
Child - Za) Myriam 5/16/01 12:00 | 5/16/01 12:00
Telephone AM AM
Contact
Child - Za Myriam 5/16/01 12:00 | 5/16/01 12:00
Telephone AM AM
Contact
Parent - Za) Myriam 5/16/01 12:00 | 5/16/01 12:00
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face)
Child - Initial Parental Home | 5/8/01 12:00 5/8/01 12:00
Face to Face Sao. AM AM
with Child -
Parent - Parental Home | 5/8/01 12:00 5/8/01 12:00
Bio/Adopt or es - AM AM
Guardian -
| Initial Contact
| Child - Initial Za Myriam | Parental Home | 5/8/01 12:00 5/8/01 12:00
| Face to Face AM AM
| with Child
Parent - Zalyy) Myriam | Parental Home | 5/8/01 12:00 5/8/01 12:00
Bio/Adopt or AM AM
Guardian -
Initial Contact
| Transfer/Closing | jgmmeusns 9/24/01 12:00 | 9/24/01 12:00
| Summary rae AM AM
| Child - 7/8/01 12:00 | 7/8/01 12:00
Telephone To - AM AM
_ Contact
|Contact - Health | iauygasagay 7/8/01 12:00 7/8/01 12:00
Contact — __| AM AM
Child - Za) Myriam 7/8/01 12:00 7/8/01 12:00
Telephone AM AM

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Contact
Contact - Health | Za Myriam 7/8/01 12:00 7/8/01 12:00
Contact AM AM
Child - 6/19/01 12:00 | 6/19/01 12:00
Telephone eam | AM AM
Contact
Child - Zay) Myriam 6/19/01 12:00 | 6/19/01 12:00
Telephone AM AM
Contact
Child - 6/15/01 12:00 | 6/15/01 12:00
Telephone === AM AM
Contact ee
Child - Za) Myriam 6/15/01 12:00 | 6/15/01 12:00
Telephone AM AM
Contact
Child - Face to 6/11/01 12:00 | 6/11/01 12:00
Face with Child | ii AM AM
Child - Face to | Za!) Myriam 6/11/01 12:00 | 6/11/01 12:00
Face with Child AM AM
Child - 6/8/01 12:00 6/8/01 12:00
Telephone eae. AM AM
| Contact
Child - Za) Myriam 6/8/01 12:00 6/8/01 12:00
Telephone AM AM
Contact
Court Activities 10/10/01 12:00 | 10/10/01 12:00
T!. AM AM
Court Activities | Za) Myriam 10/10/01 12:00 | 10/10/01 12:00
AM AM
Child - eas 10/1/01 12:00 | 10/1/01 12:00
Telephone i. AM AM
Contact
Child - 8/13/01 12:00 | 8/13/01 12:00
Telephone _—_—aa AM AM
Contact
| Child - 8/8/01 12:00 | 8/8/01 12:00
| Telephone aes. AM AM
Contact
Parent - a 8/8/01 12:00 8/8/01 12:00
Bio/Adopt or aaeeiaeZ AM AM
Guardian
Contact
(Includes face to
face)
Child - Za) Myriam 8/8/01 12:00 | 8/8/01 12:00
Telephone AM AM

Za Myriam

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Za Myriam

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Contact

Parent - Za) Myriam 8/8/01 12:00 8/8/01 12:00

Bio/Adopt or AM AM

Guardian

Contact

(Includes fac« to

face)

Child - 8/2/01 12:00 8/2/01 12:00

Telephone as. AM AM

Contact

Court Activities 8/2/01 12:00 8/2/01 12:00
— = AM AM

Parent - ial 8/2/01 12:00 8/2/01 12:00

Bio/Adopt or (ceiiepieighlhi s AM AM

Guardian

Contact

(Includes face to

face)

Child - Za) Myriam 8/2/01 12:00 8/2/01 12:00

Telephone AM AM

Contact

Court Activities | Za 9) Myriam 8/2/01 12:00 8/2/01 12:00

AM AM

Parent - Za) Myriam 8/2/01 12:00 8/2/01 12:00

Bio/Adopt er AM AM

Guardian

Contact

(Includes face to

face)

Child - Initial
Face to Face
with Child

Parental Home

7/27/01 3:35
PM

7/27/01 5:35
PM

Contact - Health
Contact

Parental Home

7/27/01 5:35
PM

7/27/01 5:35
PM

Contact - Parental Home | 7/27/01 5:35 T/27/01 5:35
Subject PM PM
Interview |

Parent - Sea Parental Home | 7/27/01 5:35 7/27/01 5:35
Bio/Adopt or aia PM PM
Guardian -

Initial Contact

Child - Initial Za Myriam | Parental Home | 7/27/01 5:35 7/27/01 5:35

Face to Face
with Child

PM

PM

Contact - Health
Contact

Za Myriam

Parental Home

7/27/01 5:35
PM

W/27/01 5:35
PM

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CPS
Case Name: Case ID: Provider Name: Provider ID:
ZA MYRIAM | 481288 No Provider Name
found
Worker Name: Office Name: Assessment ID: Assessment
Complete Date:
Copenhaver, Tanya | Tacoma Office, 35204901 02/08/2003
M. _ Region 5
I. Ailc;sations/Findings _
Intake ID Victim Subject Relationship to Victim
1382495 IB Myriam Z Parent Birth/Adoptive
Z

CA/N Findings
Negligent Treatment or Inconclusive
Maltreatment
Support of Findings/CAPTA Narrative
Il. Investigative Assessment Participants

| CI. Name Gender DOB Language | Roles
| Myriam Female 11/05/1980 | English IN-SB

Z
L ] see | Male 11/30/2002 | English Vv
BE
|Z

III. Contacts a
Activity | Participant —_| Location Contact Creation

| | Date/Time Date/Time
Parent - | 3/15/04 12:00 | 3/15/04 12:00
Bio/Adopt or (eae or | AM AM
Guardian
Contact
(Includes face to
face)
Parent - 2/26/04 12:00 | 2/26/04 12:00
Bio/Adopt or i AM AM
Guardian
Contact
(Includes face to
face)
Contact - B Zaj 1/26/04 12:00 | 1/26/04 12:00
Collateral aa! AM AM

Myriam

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Parent - B Za 1/26/04 12:00 1/26/04 12:00
Bio/Adopt or AM AM
Guardian
Contact
(Includes 1. to

face)
Contact - Zal) Myriam 1/26/04 12:00 1/26/04 12:00
Collateral AM AM
Parent - Za) Myriam 1/26/04 12:00 1/26/04 12:00
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face)
Contact - B Z 7/9/93 12:00 7/9/03 12:00
Collateral l AM AM came!
Contact - B Z 7/9/03 12:00 7/9/03 12:00
Collateral al AM AM
Contact - 7/9/03 12:00 7/9/03 12:00
Collateral (decom: . AM / AM
Contact - alias 7/9/03 12:00 7/9/03 12:00
Collateral ea AM AM
Contact - 7/9/03 12:00 7/9/03 12:00
Collateral _ AM AM
Contact - Za) Myriam 7/9/03 12:00 7/9/03 12:00
Collateral AM AM
Transfer/Closing | B Z 5/9/03 12:00 5/9/03 12:00
Summary l AM AM
Transfer/Closing | Za!) Myriam 5/9/03 12:00 5/9/03 12:00
Summary AM AM
Contact - Care B) Z 4/30/03 12:00 | 4/30/03 12:00
Provider or ] AM AM
Facility Provider

| Parent - B Z 4/30/03 12:00 | 4/30/03 12:00
Bio/Adopt or | AM AM
Guardian
Contact
(Includes face to
face)
Contact - Care Za Myriam 4/30/03 12:00 | 4/30/03 12:00
Provider or AM AM
Facility Provider
Parent - Za Myriam 4/30/03 12:00 | 4/30/03 12:00
Bio/Adopt or | AM AM
Guardian
Contact

Za Myriam
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(Includes face to

face)

Health and B Za Placement 4/22/03 12:00 | 4/22/03 12:00

Safety Facility AM AM

Monitoring Visit

(CA Social

Worker)

Health and ZA Myriam | Placement 4/22/03 12:00 | 4/22/03 12:00

Safety Facility AM AM

Monitoring Visit

(CA Social

Worker)

Parent - B Za 3/25/03 12:00 | 3/25/03 12:00

Bio/Adopt or AM AM

Guardian

Contact

(Uncludes face to

face) |
| Parent - Za) Myriam 3/25/03 12:00 | 3/25/03 12:00

Bio/Adopt or AM AM

Guardian |

Contact

(Includes face to

face)

Contact - B Za 2/24/03 12:00 | 2/24/03 12:00
| Collateral AM AM

Contact - Za Myriam 2/24/03 12:00 | 2/24/03 12:00
| Collateral AM AM

Contact - B Za 2/14/03 12:00 | 2/14/03 12:00

Collateral AM AM

Contact - Za) Myriam 2/14/03 12:00 | 2/14/03 12:00

Collateral AM AM

Contact - B La 2/12/03 12:00 | 2/12/03 12:00

Collateral AM AM

Contact - Za) Myriam 2/12/03 12:00 | 2/12/03 12:00

Collateral AM AM

Contact - B Lai 2/10/03 12:00 | 2/10/03 12:00

Collateral AM AM

Contact - Za) Myriam 2/10/03 12:00 | 2/10/03 12:00

Collateral AM AM

Transfer/Closing | B Za 2/8/03 12:00 2/8/03 12:00

Summary AM AM

Transfer/Closing | Za) Myriam 2/8/03 12:00 2/8/03 12:00

Summary AM AM

Court Activities | B Za | 2/7/03 12:00 | 2/7/03 12:00

| AM AM

Za Myriam
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Za Myriam

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Court Activities | Za Myriam 2/7/03 12:00 2/7/03 12:00
AM AM
Parent - B Z 2/6/03 12:00 2/6/03 12:00
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face) _
Parent - Za) Myriam 2/6/03 12:00 2/6/03 12:00
Bio/Adopt or AM AM
Guardian
Contact
(includes face to
face)
Contact - Care B Za 2/5/03 12:00 2/5/03 12:00
Provider or AM AM
Facility Provider
Contact - Care Za Myriam 2/5/03 12:00 2/5/03 12:00
Provider or AM AM
Facility Provider
Child- Faceto | B Za’ 1/27/03 12:00 | 1/27/03 12:00
_Face with Child AM _AM_
Contact - Care B ‘Za 1/27/03 12:00 1/27/03 12:00
Provider or AM AM
Facility Provider
Parent - B Za 1/27/03 12:00 1/27/03 12:00
Bio/Adopt or AM AM
Guardian
Contact
Uncludes face to
face)
Child- Faceto | Za Myriam 1/27/03 12:00 | 1/27/03 12:00
Face with Child AM AM
Contact - Care Za Myriam 1/27/03 12:00 1/27/03 12:00
Provider or AM AM
| Facility Provider
Parent - Za Myriam 1/27/03 12:00 1/27/03 12:00
Bio/Adopt or AM AM
Guardian
Contact |
(Includes face to
face)
Contact - Care Bi Za' 1/24/03 12:00 1/24/03 12:00
Provider or AM AM
Facility Provider |
Contact - B Za 1/24/03 12:00 | 1/24/03 12:00

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Za Myriam
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| Collateral a AM AM
Parent - B Za 1/24/03 12:00 1/24/03 12:00
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face)
Contact - Care Za) Myriam 1/24/03 12:00 1/24/03 12:00
Provider or AM AM
Facility Provider
Contact - Za Myriam 1/24/03 12:50 | 1/24/03 12:00
Collateral AM AM
Parent - Za, Myriam 1/24/03 12:00 | 1/24/03 12:00
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face)
Parent - B Za 1/23/03 12:00 1/23/03 12:00
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face) . |
Parent - Za Myriam 1/23/03 12:00 1/23/03 12:00
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face) ee | -
Contact - B Za 1/22/03 12:90 1/22/03 12:00
Collateral i AM AM
Contact - Za Myriam 1/22/03 12:00 1/22/03 12:00
Collateral AM AM
Child - Initial B Za, Parental Home | 1/21/03 12:00 1/21/03 12:00
Face to Face AM AM
with Child
Contact - B Za 1/21/03 12:00 1/21/03 12:00
Collateral AM AM
Parent - B Za 1/21/03 12:00 1/21/03 12:00
Bio/Adop: >* AM AM
Guardian -
Initial Contact
Parent - B Za Parental Home | 1/21/03 12:00 1/21/03 12:00
Bio/Adopt or AM AM
Guardian

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Za Myriam

Record Type Reviewed

_ Contact
(Includes face to
face)
Child - Initial Za Myriam | Parental Home | 1/21/03 12:00 | 1/21/03 12:00
Face to Face AM AM
with Child
Contact - Za) Myriam 1/21/03 12:00 | 1/21/03 12:00
Collateral AM AM
Parent - Za) Myriam 1/21/03 12:00 | 1/21/03 12:00
Bio/Adopt or AM AM
Guardian -
[nitial Contact
Parent - Za Myriam | Parental Home | 1/21/03 12:00 | 1/21/03 12:00
Bio/Adopt >* AM AM
Guardian
Contact
(Includes face to
face)
Contact - B ‘Za 1/17/03 12:00 | 1/17/03 12:00
Collateral | AM AM
Contact - Za) Myriam 1/17/03 12:00 | 1/17/03 12:00
Collateral AM AM
IV. Records Reviewed

Date Reviewed

Comments

V.

Narrative Describing Facts Found During Investigation

VI. Substance Abuse

Caregiver Name:
Historical or Current Alcohol/Drug use identified:

Is person « <: rently involved in Alcohol/Drug Services:

Referral Made:
If Not, Reason:

VII. Protective Factors

VIII. Family Strengths

Mother has done well since her release and up until her most recent relapse. She seems to
care a great deal about her children and has acknowledged what she needs to do to make

her home safe for them.

IX. Issues and Concerns Noted:

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CPS
Case Name: Case ID: Provider Name: Provider ID:
ZA MYRIAM | 481288 No Provider Name
- found
Worker Name: Gffice Name: Assessment ID: Assessment
Complete Date:
Ross, Shannon, SW_ | Lakewood, Region | 67916201 06/10/2008
5
I. Allegations/Findings
Intake ID Victim Subject Relationship to Victim
1893940 Myriam Z Parent Birth/Adoptive
ay
CA/N Findings
Negligent Treatment or Inconclusive
Maltreatment _
Support of Findings/CAPTA Narrative
Intake ID Victim Subject Relationship to Victim
1893940 IB Myriam Z Parent Birth/Adoptive
Z
CA/N Findings
Negligent Treatment or Inconclusive
Maltreatmsnit
Support ot “indings/CAPTA Narrative
Il. Investigative Assessment Participants
CI. Name Gender | DOB Language | Roles
| Female 11/05/1980 | English IN-SB
L] Female page | English Vv
L] |. Male 11/30/2002 | English Vv
B
Z
Il. Contacts ee
| Activity Participant Location Contact Creation
Date/Time Date/Time
Contact - Bi Zal 6/10/08 12:00 6/10/08 4:22
Collateral Sei AM PM
Contact - DU 6/10/08 12:00 | 6/10/08 4:22 |

Za Myriam
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Face to Face

AM

Collateral T AM PM

Contact - 6/10/08 12:00 6/10/08 4:22

Collateral SHANNON AM PM

Contact - 6/10/08 12:00 6/10/08 4:22

Collateral Weer _-/. AM PM

Contact - Za) Myriam 6/10/08 12:00 | 6/10/08 4:22
| Collateral AM PM

Child - Initial B Za Parental Home | 5/8/08 2:30 PM | 5/8/08 2:30 PM

Face to Face 1

with Child i __I

Parent - B Za 5/8/08 12:00 5/8/08 12:00

Bio/Adopt or J AM AM

Guardian

Contact

(Includes face

to face)

Monthly B Za 4/30/08 12:00 4/30/08 12:00

Supervisor J AM AM

Review _

Child - B Za Parental Home | 4/11/08 3:30 4/11/08 3:30

Attempted | PM PM

Initial Face to

Face

Contact - B Za Parental Home | 4/11/08 3:30 4/11/08 3:30

Collateral ] PM PM

Contact - 4/9/08 12:00 4/9/08 12:00
| Collateral == AM AM

Contact - Za) Myriam 4/9/08 12:00 4/9/08 12:00

Collateral AM AM

Child - Initial School 3/14/08 10:00 3/14/08 10:00

Face to Face ‘Dee. AM AM

with Child

Child - Initial Zagyy Myriam | School 3/14/08 10:00 3/14/08 10:00

AM

| Attempted
| Initial Face to

PM

with Child

Parent - 3/14/08 12:00 3/14/08 12:00
Bio/Adopt or AM AM
Guardian -

Initial Cor-aci |

Parent - Za Myriam 3/14/08 12:00 3/14/08 12:00
Bio/Adopt or AM AM
Guardian -

Initial Contact

Child - B Za 3/13/08 2:17 3/13/08 2:17

PM

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CL Name Gender DOB Language | Roles
[ | »> Gj g ¢ RF
XX , Myriam — | Female 11/05/1980 | English HM-IN-PR-SB

FR
Female ROMER | English HM

i

aa
[ | | Male 11/30/2002 | English V-HM

B

ie Zz
[| Maniac Male | SB
| Unknown |
Ill. Contacts
Activity Participant | Location Contact Creation
Date/Time Date/Time
Parent - Za) Myriam | Children's 11/25/09 11:46 | 11/25/09 1:14
Bio/Adopt or Administration | AM PM
Guardian Office
Contact
(Includes face to
face)
Parent - |B By Phone 11/18/09 1:00 | 11/18/09 3:01
Bio/Adopt or D PM PM
Guardian
Contact
(Includes face to
face)
Parent - B By Phone 11/13/09 3:45 | 11/13/09 3:54
Bio/Adopt or D PM PM
Guardian
Contact
(Includes face to
face)
Parent - B By Phone 11/6/09 11:15 11/6/09 11:35
Bio/Adopt or D AM AM
Guardian
Contact
(Includes face to
face)
Contact - B Lai Children's 11/5/09 10:00 | 11/5/09 11:26
Collateral il Administration | AM AM
Office

Parent - B Za Children's 11/5/09 10:00 11/5/09 11:26

Za Myriam
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Bio/Adopt or | Administration | AM AM
Guardian Office
Contact
(Includes face to
face)
Contact - Rena Children's 11/5/09 10:00 11/5/09 11:26
Collateral Administration | AM AM

Office
Parent - Children's 11/5/09 10:00 11/5/09 11:26
Bio/Adopt or Es. = Administration | AM AM
Guardian Office
Contact
(Includes face to
face) __|
Contact - B By Phone 11/4/09 1:15 11/4/09 1:24
Collateral D PM PM
Contact - B Za By Phone 11/4/09 1:15 11/4/09 1:24
Collateral ] PM PM
Health and B Za Placement 11/3/09 6:30 11/4/09 3:05
Safety 1 Facility PM PM
Monitoring Visit
(CA Social
Worker)
Health and aE | Placement 11/3/09 6:30 11/4/09 3:05
Safety ae Facility PM PM
Monitoring Visit
(CA Social

Worker)

Contact - Care 10/30/09 12:00 | 10/30/09 4:27
Provider or AM PM
Facility Provider
Contact - ou 10/30/09 12:00 | 10/30/09 10:45
Collateral a AM AM
Contact - REET 10/30/09 12:00 | 10/30/09 2:41
Collateral AM PM
Contact - Care B iZa 10/29/09 12:00 | 10/30/09 4:37
Provider o: AM PM
Facility Provider
Contact - B Za 10/29/09 12:00 | 10/30/09 4:37
Collateral ] AM PM
Contact - Children's 10/29/09 12:00 | 10/29/09 2:29
Collateral a. = Administration | AM PM

Office
Contact - Health 10/29/09 12:00 | 10/29/09 3:46
Contact Sc). AM PM
Contact - |B Za 10/28/09 12:00 | 10/28/09 3:36

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Za Myriam

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Collateral il AM PM
Contact - Health | BI Za 10/28/09 12:00 | 10/28/09 5:28
Contact wl AM PM
Contact - Health | BIZa 10/27/09 12:00 | 10/27/09 6:47
Contact | AM PM
Parent - Za Myriam | By Phone 10/26/09 12:00 | 10/26/09 2:15
Bio/Adopt or AM PM
Guardian
Contact
Uincludes © .-c to
face)
Visit - DU Children's 10/23/09 4:00 | 10/26/09 1:18
Supervised T Administration | PM PM

Office
Visit - EEE Children's 10/23/09 4:00 | 10/26/09 1:18
Supervised _i Administration | PM PM

Office
Contact - Health | B Za 10/23/09 12:00 | 10/26/09 3:28

Contact

AM

PM

Contact - Health | Seige 10/23/09 12:00 | 10/26/09 3:18
Contact ae AM PM
Parent - ZalM Myriam | Other (License | 10/23/09 12:00 | 10/23/09 4:24
Bio/Adopt or or Unlicensed) | AM PM
Guardian
Contact
(Includes face to
face)
Parent - DU By Phone 10/20/09 1:00 | 10/20/09 1:27
Bio/Adopt or TS PM PM
Guardian
Contact
(Includes face to
face)
Contact - Za Myriam 10/19/09 8:45 | 10/19/09 9:02
Collateral AM AM
Visit - Did Not | DU Children's 10/16/09 1:00 10/21/09 4:00
Occur T Administration | PM PM

Office
Visit - Did Not Children's 10/16/09 1:00 10/21/09 4:00
Occur a). Administration | PM PM

Office
Contact - Health | B Za 10/16/09 12:00 | 10/26/09 3:26
Contact yl AM PM
Contact - Health oa 10/16/09 12:00 | 10/26/09 3:10
Contact AM PM
Relative Contact | Za Myriam | By Phone 10/15/09 9:30 10/15/09 9:43

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Za Myriam

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Monitoring Visit

AM | AM
Court Activities | Za Myriam | By Phone 10/15/09 8:30 | 10/15/09 8:47
- AM AM
Court Activities | B By Phone 10/13/09 1:00 | 10/13/09 5:07
D PM PM
Court Activities | Za) Myriam | By Phone 10/13/09 1:00 10/13/09 5:07
PM PM
Monthly B Za! Children's 10/13/09 9:30 | 10/13/09 10:18
Supervisor | Administration | AM AM
| Review Office
Missing from Children's 10/13/09 9:30 10/13/09 10:18
Care - Search a= Administration | AM AM
Efforts Office
Contact - Za Myriam | By Phone 10/13/09 12:35 | 10/13/09 12:36
Collateral | AM PM
Child -Faceto |B Za Placement 10/12/09 12:00 | 10/28/09 5:25
Face with Child 1 Facility AM PM
Contact - Care B Za Placement 10/12/09 12:00 | 10/28/09 5:25
Provider or Facility AM PM
Facility Provider
Contact - B Za Children's 10/12/09 12:00 | 10/28/09 4:16
Collateral ] Administration | AM PM
Office
Child-Faceto | iam Placement 10/12/09 12:00 | 10/29/09 2:03
Face with Child | i. Facility AM PM
Contact - Care Placement 10/12/09 12:00 | 10/29/09 2:03
Provider or Saas. Facility AM PM
Facility Provider
Contact - : | Children's 10/12/09 12:00 | 10/29/09 2:03
Collateral Sa. Administration | AM PM
| Office
| Parent - B Za Other (License | 10/10/09 12:00 | 10/28/09 3:32
Bio/Adopt or | or Unlicensed) | AM PM
Guardian
Contact
(Includes face to
face)
Parent - Other (License | 10/10/09 12:00 | 10/29/09 1:50
Bio/Adopt or |) or Unlicensed) | AM PM
Guardian
Contact
(Includes face to
face) __
Health and B Za Other (License | 10/9/09 6:45 10/12/09 4:11
Safety or Unlicensed) | PM PM

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Za Myriam

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(Includes face to

(CA Social |
Worker)
Health and Other (License | 10/9/09 6:45 10/12/09 4:11
Safety ie or Unlicensed) | PM PM
Monitoring Visit
(CA Social
Worker)
Visit - B | Other (License | 10/9/09 3:30 10/12/09 3:54
Supervised D or Unlicensed) | PM PM
Visit - Bi Za Other (License | 10/9/09 3:30 10/12/09 3:54
Supervised | or Unlicensed) | PM PM
Parent - B By Phone 10/9/09 10:15 | 10/9/09 10:41
Bio/Adopt or Di AM AM
Guardian
Contact
(Includes 1..2< to
face)
Parent - B By Phone 10/8/09 4:30 10/8/09 4:37
Bio/Adopt or D PM PM
Guardian
Contact
(Includes face to
face)
Court Activities | B | Children's 10/8/09 2:00 10/8/09 5:02
D Administration | PM PM
_ _Office
Contact - Care B Za Children's 10/8/09 2:00 10/8/09 6:02
Provider or | Administration | PM PM
Facility Provider Office
Parent - B Za Children's 10/8/09 2:00 10/8/09 6:02
Bio/Adopt or | | Administration | PM PM
Guardian Office
Contact
(Includes face to
face) {
Court Aca. ies | DU Children's 10/8/09 2:00 10/8/09 5:02
To Administration | PM PM
Office
Contact- Care | Saji Children's 10/8/09 2:00 10/8/09 6:02
Provider or aes | Administration | PM PM
Facility Provider Office
Parent - Children's 10/8/09 2:00 10/8/09 6:02
Bio/Adopt or ls Administration | PM PM
Guardian Office
Contact

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face)
Court Activities | Za Myriam | Children's 10/8/09 2:00 10/8/09 5:02
Administration | PM PM
Office
Transfer/Closing | Zaf{# Myriam | Children's 10/6/09 5:00 10/6/09 5:14
Summary Administration | PM PM
| Office
Contact - Zalgy Myriam | By Phone 10/6/09 3:00 10/6/09 5:11
Collaterai PM PM
Parent - Za Myriam | By Phone 10/6/09 1:00 10/6/09 5:05
Bio/Adopt or PM PM
Guardian
Contact
(Includes face to
face)
Court Activities | DU By Phone 10/5/09 4:00 10/5/09 5:06
Thais) Be PM PM
Court Activities | Za Myriam | By Phone 10/5/09 4:00 10/5/09 5:06
PM PM
Court Activities | BI Children's 10/5/09 3:00 10/5/09 5:02
DHE & Administration | PM PM
Office
Court Activities | DUE Children's 10/5/09 3:00 10/5/09 5:02
T mal (= Administration | PM PM
Office
Court Activities | Za) Myriam | Children's 10/5/09 3:00 10/5/09 5:02
Administration | PM PM
. Office
Court Activ:ues | BIE Other (License | 10/5/09 1:30 10/5/09 4:59
DEE] & or Unlicensed) | PM PM
Court Activities | DU Other (License | 10/5/09 1:30 10/5/09 4:59
TRESESE SE or Unlicensed) | PM PM
Court Activities | Za} Myriam | Other (License | 10/5/09 1:30 10/5/09 4:59
or Unlicensed) | PM PM
Child - BEEBE: By Phone 10/5/09 12:54 | 10/5/09 1:05
Telephone ba = PM PM
Contact
Child - BIP9Zaey ~—s« By Phone 10/5/09 12:54 | 10/5/09 1:05
Telephone | PM PM
Contact
Child - DUES By Phone 10/5/09 12:54 | 10/5/09 1:05
Telephone Tia ae PM PM
Contact
Child - | By Phone 10/5/09 12:54 | 10/5/09 1:05
Telephone PM PM
Contact

Za Myriam
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Za Myriam

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Child - Za! Myriam | By Phone 10/5/09 12:54 | 10/5/09 1:05
Telephone PM PM
Contact
Contact - B Za 10/5/09 12:00 | 10/27/09 6:37
Collateral ] AM PM
Contact - Care B Za 10/2/09 12:00 | 10/2/09 11:36
Provider or I AM AM
Facility Provider
Contact - B Za’ 10/2/09 12:00 | 10/27/09 1:27
Collateral l AM PM
Contact - Care 10/2/09 12:00 | 10/2/09 11:36
Provider or Ee AM AM
Facility Provider
Contact - 10/2/09 12:00 10/29/09 3:32
Collateral ana = AM PM
Parent - Za Myria By Phone 10/1/09 5:00 10/6/09 5:01
Bio/Adopt or PM PM
Guardian
Contact
(Includes face to
face)
Court Acusies | B By Phone 10/1/09 4:25 10/1/09 5:27
D PM PM
Court Activities | DU By Phone 10/1/09 4:25 10/1/09 5:27
T | PM PM
Court Activities | Za) Myriam By Phone 10/1/09 4:25 10/1/09 5:27
| - PM | PM
Child - Face to School 10/1/09 2:00 10/6/09 4:56
Face with Child | i. PM PM
Court Activities | BO Other (License | 10/1/09 11:00 10/1/09 3:36
D or Unlicensed) | AM PM
Court Activities | B Za | Other (License | 10//09 11:00 10/1/09 3:36
| or Unlicensed) | AM PM
Court Activities Other (License | 10/1/09 11:00 10/1/09 3:36
or Unlicensed) | AM PM
Court Activities Other (License | 10/1/09 11:00 10/1/09 3:36
| or Unlicensed) | AM PM
Court Activities Other (License | 10/1/09 11:00 | 10/1/09 3:36
or Unlicensed) | AM PM
Contact - B Za 10/1/09 12:00 10/1/09 12:59
Collateral _ I AM PM __|
Contact - 10/1/09 12:00 | 10/1/09 12:59
Collateral ‘pa - AM PM
| Parent - DUT By Phone 9/30/09 4:00 9/30/09 5:13
Bio/Adopt or T PM PM
Guardian -

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Initial Contact
Contact - Za Myriam | Children's 9/30/09 3:15 9/30/09 5:16
Collateral Administration | PM PM

Office
Parent - Za) Myriam | By Phone 9/25/09 8:30 9/25/09 8:33
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face)
Parent - Za) Myriam | Children's 9/24/09 11:30 | 9/25/09 8:29
Bio/Adopt or Administration | AM AM
Guardian | Office
Contact
(Includes face to
face)
Monthly Za) Myriam | Children's 9/23/09 11:00 | 9/23/09 11:59
Supervisor Administration | AM AM
Review Office
Parent - Za Myriam | Children's 9/18/09 10:00 | 9/25/09 8:12
Bio/Adopt or Administration | AM AM
Guardian Office
Contact
(Includes face to
face)
Parent - Za’ Myriam | By Phone 9/17/09 9:00 9/25/09 8:13
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face)
Parent - Za) Myriam | By Phone 9/17/09 8:00 9/25/09 8:14
Bio/Adopt or AM AM
Guardian
Contact
(Includes face to
face)
Child - Initial B Za School | 9/16/09 11:30 | 9/25/09 8:11
Face to Face AM AM
with Child
Child - Initial School 9/16/09 11:25 | 9/25/09 7:51
Face to Face es - AM AM
with Child | |
Contact - B Za By Phone 9/15/09 8:59 9/25/09 7:48
Collateral AM AM
Parent - B Za By Phone 9/9/09 11:45 9/25/09 7:47

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CONTACTS
B i ate/Time
Activity Location eed lene
Child - initial Face to Face with mises i eemee Parental Home 06/42/2019 | 06/12/2019
Child yee 04:35PM [06:06 PM
Child - initial Face to Face with [9 2a Parental Home OBN22019 | 06/12/2019
Child — [asa 04:35 PM [06:06 PM
Contact - Education SS08 By Phone 06/03/2019 | 07/08/2019
* T1D0 AM |05:26 PM
Contact - Law Enforcement By Phone O6/G32019 | 07/09/2019
11:00 AM [04.37 PM
Monthly Supervisor Review Za) Myriam (1227958) | Children’s Administration Office | 06/03/2019 |06/03/2019
1:16AM [10:17 AM
Monthly Supervisor Review Zal) Myriam (1227958) | Children’s Administration Office [07/12/2019 |07/72/2019
= 14:32AM [11:33 AM
Parent - Bio/Adopt or Guardian [Za Myriam (1227958) | Other (License or Unlicensed) | 06/12/2019 [07/08/2019
Contact (includes face to face) 04:30 PM =| 05:08 PM
Type of Record Date Reviewed Comment
Law Enforcement Report 06/03/2019
Assessment Date Safety Decision Finai Safety Pian
07/03/2019 Safa No Safety Plan Required

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CONTACTS
Activity Participant Location am cae
Contact - Subject Interview Za), Myriam (1227958) | By Phone 19/21/2017 | 11/22/2017
02:30 PM__|02:25 PM
Contact - Subject interview ZaY Myriam (1227958) | By Phone 11/22/2017 | 11/22/2017
12:23 PM | 02:29 PM
Contact - Subject Interview Zalll | Myriam (1227958) | By Phone 42/01/2017 | 12/01/2017
| 06:43 AM [09:09 AM
Contact - Subject Intervew Zall ) Myriam (1227958) | By Phone 12/05/2017 | 12/05/2017
03:30PM [03:46 PM
Contact - Subject Interview Zel || Myriam (1227958) | Text Message 12/05/2017 | 12/05/2017
_ 03:30PM [03:46 PM
Contact - Subject interview Za) Myriam (1227958) | Parental Home 41/22/2017 | 12/07/2017
O8:70 AM | 10:08 AM
Contact - Subject interview Za) Myriam (1227958) | Chitdren's Administration Office | 11/30/2017 [12/07/2017
11:03 AM 105-20 PM
Health and Safety Monitoring iit School 03/12/2018 | 03/t2/2018
Visit (CA Social Worker) 1260 PM [05:18 PM
Health and Safety Monitoring my ca A. Schoal OaMi2/2018 | 08/12/2013
Visit (CA Social Worker) ae 12:00 PM 05:18 Pa
Monthly Supervisor Review Zags Myriam (1227958) | Children's Administration Office | 11/20/2017 [11/20/2017
01:42 PM | 01:42 PM
Monthly Supervisor Review Za) Myriarn {1227958} | Children's Administration Office | 12/30/2017 | 12730/2017
07:64PM [07:07 PM
Monthly Supervisor Review Za) | Myriam (1227958) | Children's Administration Office [01/25/2018 [01/25/2018
1t:25 AM |11:28 AM
Monthly Supervisor Review Zal)) Myriam (1227958) | Children's Administration Offica [02/26/2018 |02/28/2018
_ =, O7:00 PM [07:02 PM
i Monthly Supervisor Review Za 0) Myriam (1227958) [Children's Administration Office |03/12/2018 [03/42/2018
09:47 AM | 00:47 AM
Referral to Substance Abuse —_—| Za |} Myriam (1227958) | Medical Facility 11/29/2017 | 11/29/2017
10:00AM | 10:16 AM
RECORDS REVIEWS.
Type of Record Date Reviewed Comment
Other 01/08/2018. FTDM Meeting
SAFETY ASSESSMENT
Assessment Date Safety Decision Final Safety Pian
12/01/2017 Safe No Safety Plan Required

f

Based on the information gathered during the course of the investigation the allegation is Unfounded since there is no
information to substantiate the allegation of negligent treatment/maltreatment occurred, therefore the allegation is

Unfounded.
CONTACTS

Bate/Time | Date/Time
Activity Participant Location Occurred | Created
Child - Attempted Initial Face to |) Zali A. Parental Home 06/03/2019 | 06/04/2019
Face a 61:15 PM 104.30 PM
Child - Attempted Initial Face to |B) i toca Parental Home OG/G7/2019 | 06/07/2019
Face O3:00AM [05:47 PM
Child - Attempted Initial Face fo A Parental Home 06/07/2018 | 06/07/2019
Face O00 AM | 05:47 PM
Child - Initial Face to Face with cee Parental Home 06/03/2019 | 06/04/2019
| Child _ O115PM  |04:36 PM

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Cofateral Contacts:
NCic: No child safaty threats or concerns.
Referrer - has concerns - but mostly speculation
YWCA staff - has mixed cancems
Kindering- No concems. 970) is gaining weight, using her words and engaging.
Date/Time | Date/T
Activity Location Occurred Created
Child - Atempted initial Face to Other (License or Unlicensed) [11/04/2016 | 11/04/2016
Face 01:30 PM [06:07 PM
_| Child - Initial Face to Face with School 11/07/2016 | 11/09/2016
Child 01:30 PM__ [09:53 AM
Child - Initial Face to Face with Schoal 49/29/2017 | 11/22/2017
Child 03:00PM [02:18 PM
Child - Initial Face to Face with Other (License or Unlicensed) [11/22/2017 | 41/22/2017
Child . 10:46AM |02:20 PM
Child - Telephone Contact By Phone 1124/2017 | 11/22/2017
03:09 PM | 02:27 PRA
Contact - Care Provis.: -> School 11/04/2016 | 11/04/2016
Facility Provider 01:30PM |06:07 PM
Contact - Collateral Myriam (1227958) |By Phone tHO3/2016 | 11/03/2616
69:00 AM [09:04 AM
Contact - Collateral Zale Myriam (1227958) | Children's Administration Office | 12/28/2016 | 12/28/2016
a 10:55AM | 10:56 AM
Contact - Callaterai Za Myriam (1227958) | By Phone 11/07/2016 | 12/29/2016
i O9:00 AM [03:22 PM
Contact - Collateral BERS Zaps (SHIEH By Phone 41/22/2017 | 11/22/2017
(Skate 41:30 AM [02:22 PM
Contact - Collateral Zall Myriam (1227958) | By Phone 14/30/2017 | 11/30/2017
09:46 AM | 10:42 AM
Contact - Collateral Za) Myriam (1227958) | Other (License or Uniicensed) =| 11/26/2017 | 11/30/2017
151 AM |10:49 AM
Contact - Callateral Zall Myriam (1227958) Text Massage 11/28/2017 [11/30/2017
an 10:47 AM__| 10:55 AM
Contact - Collateral Za Myriam (1227958) | Text Message 41/29/2017 | 41/30/2017
01:32PM | 10:58 AM
Contact - Callaterai Za Myriam (1227958) | Text Message 41/29/2017 | 11/30/2017
O3:27 AM |11:37 AM
Contact - Collateral Za) Myriam (1227958) | Text Message 11/29/2017 | 11/40/2017
cee 03:39 PM [11:40 AM

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CONTACTS _
Activity Participant Location aa pane bee
Monthly Supervisor Review Myriam (1227958) | Children’s Administration Office [00/18/2016 | 00/18/2016
_. 05:57AM | 06:07 AM
Monthly Supervisor Review Za) Myriam (1227958) | Children's Administration Office | 10/15/2016 | 11/08/2016
05:00 PM [09-59 PM
Parent - Bio/Adopt or Guardian | | Za Myriam (1227958) | Children's Administration Office | 09/08/2016 |.00/08/2016
intial Contact 03:58PM |03:59 PM
Parent - Bio/Adopt or Guardian | Za!) Myriam (1227958) | Children's Administration Office [09/13/2016 | 09/13/2016
Contact (Includes face to face) 02:47 Pid | 06:33 PM
Parent - Bio/Adopt or Guardian | Za) Myriam (1227958) | Children's Administration Office [09/13/2016 |09/13/2016
Contact (includes face to face) 05:57PM = |.06:46 PM

RECORDS REVIEWED

Living Arrangement of the Child(ren}
Single parent household, mother only

Type of Record Bate Reviewed Comment

Referral Histery J7/NS/2016

SAFETY ASSESSMENT

Assessment Date Safety Decision Final Safety Pian
09/13/2016 Safe No Safety Plan Required
|GENERAL DETAILS

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Daycare was adamant that the mother allowed the child to remain in the same diaper from the day before. Mather denied
this. Child appeared clean and weil cared for and had no observable effects from being allegedly left in her diaper. There
were concerns with regards to the child's weight and feeding at the childcare, but PCAP worker had no concems with
regards to the child's health and wellbeing or the mother’s parenting skills. Child has regular medical appointments, per the
PCAP worker, and no intakes have been made by the pediatrician. The allegations are unfounded.

Activity Location See pasa

Child - Attempted Initial Face to Parental Home 07/01/2016 | 07/06/2016
Face O4:30 FM 108.13 AM

_| Child - Attempted Initic! Face to Parental Home O7/05/2016 [07/26/2016
Face 06:05 PM [06:33 PM

Child - Attempted Initial Face to School 07/06/2016 | 07/26/2016
Face 04:25PM  |06:41 PM

Child - initial Face to Face with School 07/07/2016 | 07/26/2016
Child 02:50PM [06:44 PM

Contact - Callaterai Zali Myriam (1227958) | By Phone 09/09/2016 | 09/09/2016
— 12:56 PM |01:03 PM

Contact - Collateral Za) Myriam (1227958) | By Phone 09/09/2016 | 09/09/2016
__ 01:23PM [01:32 PM

Contact - Collateral Zal)() Myriam (1227958) [Children's Administration Office [09/09/2016 [09/09/2016
01:35PM [01:39 PM

Contact - Collateral By Phone 09/13/2018 | 08/13/2016
03:32PM |03:39 PM

Contact - Subject Interview By Phone 12/05/2017 | 12/05/2017
03:30PM [03:46 PM

Contact - Subject interview Text Message 42/05/2017 | 12/05/2017
——— 03:30PM [03:46 PM

Contact - Subject interview Za) Myriam (1227958) | Children's Administration Office | 11/30/2017 | 12/07/2017
1t03 AM [03:20 PM

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INVESTIGATIVE DETAILS _

Narrative describing facts obtained from Investigation and sources used to verify.
02/16/2015 @ 2:40PM: ATTEMPTED IFF WITH

SW ASSIGNED THIS CASE ON 2/17/2014 @ 9:13AM

2/17/2015 @ 10:35AM: ATTEMPTED IFF WITH

L BRADELY-Z -02:40 PM

L WAS OUT ON A FIELD TRIP WITH HIS SIXTH GRADE CLASS.

2/17/2015 @ 10:35AM. MRS WYATT COUNSELOR AT JASON LEE MIDDLE SCHOOL -NO CONCERNS

2/17/2015 @ 1:50PM: ATTEMPTED IFF WITH

2/17/2015 @ 2:00PM : |FF WITH LB

Z

(AGE 15) AT WRIGHT PARK 2/17/2015

2/18/2015 @ 10:30AM: TC Sheila Wilson, SW (206) 691-2395- COLLATERAL

2/17/2015 @ 3:15PM ATTEMPTED Si WITH D

3/1/2015 @ 1:07PM: SI D

3/3/2015 @ 2:13PM: TC Tammy Johnson-Tindale -COLLATERAL NO CONCERNS

LB Z (AGE 15) AT JASON LEE MIDDLE SCHOOL

LB Z (AGE 15) AT JASON LEE MIDDLE SCHOOL

4/10/2015 @ 2:00PM: H/S AT JASON LEE MIDDLE SCHOOL LEE MIDDLE SCHOOL- NO NEW INFORMATION

: REPORTED
(CONTACTS te aE ieee Se Ele
. wo . Date/Time Date/Time
Activity | Participant Location Occurred | Created
Child - Attempted Initial Face to B Za | Parental Home 02/16/2015 02/16/2015
Face ( ___ | |02:40 PM | 05:21 PM
Child - Attempted In.ci Face to B Za ‘ School 02/17/2015 | 02/17/2015
Face ( | | (10:35 AM 03:09 PM
Child - Initial Face to Face with |B [Za l Other (License or Unlicensed) | 02/17/2015 02/17/2015
Child - ( _ | _ 10:35 AM |03:12 PM |
Contact - Collateral B D School 02/17/2015 02/17/2015
| (934632) | '10:35 AM 03:09PM |
Contact - Education B Za | School 02/17/2015 02/17/2015
Ne | _ 10:35 AM (03:09 PM
Monthly Supervisor Review Za Myriam (1227958) | Children's Administration Office (02/19/2015 02/19/2015
| _ | ! | |12:30 PM | 12:31 PM
Monthly Supervisor Review Za Myriam (1227958) — Children's Administration Office 03/27/2015 03/27/2015
fo | 09:45AM 10:19AM |
Parent - Bio/Adopt or Guardian - | B D Parental Home 02/16/2015 02/16/2015
Initial Contact _ | (934632) (02:40 PM 05:21 PM
|RECORDS REVIEWED 7 vie ee sxe4|
Type of Record ___| Date Reviewed | Comment ee
Referral History 02/17/2015
Other _ 04/14/2015 | Immunizations
[SAFETY ASSESSMENT es = melee Se
| Assessment Date | Safety Decision | Final Safety Plan
02/17/2015 Safe No Safety Plan Required
SMO6 investigative Assessment Case (ID): ZA MYRIAM (481288) Page 3 of 4

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(CONTACTS 2B i a gett
, .. . Date/Time
Activity Participant Location Occurred
Contact - Collateral Za Myriam (1227958) | Text Message 11/29/2017
| | 09:37 PM
Contact - Collateral Za Myriam (1227958) | Text Message 11/30/2017
| | 07:50 AM
Contact - Collateral Za Myriam (1227958) By Phone 12/01/2017
| 08:45 AM
Contact - Collateral Za A. By Phone 01/29/2018
i( | 12:05 PM
Contact - Collateral B. Za I By Phone 01/30/2018
| | ¢ | 12:08 AM
Contact - Education B Za | School 11/22/2017
| ( 2 | | 12:00 PM
Contact - Health Contact Za A By Phone 11/22/2016
| _ ( 7 | - 04:33 PM
Contact - Health Contact Za A Children's Administration Office | 12/28/2016
| C | 10:40 AM
Contact - Health Contact Za Myriam (1227958) | Medical Facility 11/30/2017
| | | 09:30 AM
Contact - Health Contact Za Myriam (1227958) By Phone 12/01/2017
08:50 AM
Contact-Referrer OAM ROO @ AIC) By Phone 11/04/2016
iF 07:00 AM
| Contact - Referrer |Zai Myriam (1227958) — By Phone 12/12/2017
[——___ | _ | — 09:30 AM
Contact - Subject interview | Za Myriam (1227958) By Phone 11/09/2016
| ee | 10:45 AM
| Contact - Subject Interview Za Myriam (1227958) — Children's Administration Office | 11/14/2016
— | |08:30 AM
Contact - Subject Interview Za Myriam (1227958) | By Phone 11/21/2017
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Contact - Subject Interview Za Myriam (1227958) | By Phone 11/24/2017
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Contact - Subject interview Za Myriam (1227958) Parental Home 11/22/2017
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IA Narrative Continued | Za Myriam (1227958) | Parental Home 12/21/2016
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if | 10:33 AM
Monthly Supervisor Review Za Myriam (1227958) — Children's Administration Office | 11/25/2016
| ‘05:00 PM
Parent - Bio/Adopt or Guardian | Za Myriam (1227958) Parental Home 42/01/2016
Contact (Includes face to face) 02:00 PM

SMO6 investigative Assessment

Za Myriam
202004-PRR-845
DCYF-000162

Case (ID): ZA

MYRIAM (481288}

| Date/Time

Created

11/30/2017
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11/30/2017

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09:12 AM

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12/28/2016
10:34 AM
12/13/2016

06:09 PM

12/01/2016
03:34 PM

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| not know Ms. Z| and has not lived in the state of Washington for two years. Ms. Zi) reported that she has been
diagnosed with bipolar and she isn't currently taking medication for it nor is she actively seeking mental health servicers.
Ms. Z|) appears to be functioning and parenting both children in her home currently with no concerns from other
collateral contacts and the Department does not have any evidence to suggest that she is actively using even though she
refused to U/A for the Department. Based on the information gathered during the course of the investigation the allegation
of Negligent Treatment/Maltreatment is Unfounded since there is no information to substantiate the allegation. |

CONTACTS ae fe cae |
. .. . ‘Date/Time Date/Time
Activity Participant Location Occurred Created |
Child - Initial Face to Face with = | _ Za A. | School 11/21/2017 | 11/22/2017
| Child | (Sree ik ee 03:00PM 02:18PM
Child - Initial Face to Face with | B Za | | Other (License or Unlicensed) | 11/22/2017 (11/22/2017
Child Iq | |, 10:46AM 02:20PM
Child - Telephone Contact _ B Za l By Phone 11/21/2017 | 11/22/2017 |
| LC e000 fo 03:09PM 02:27PM
Contact - Collateral | B Za | | By Phone | 11/22/2017 | 11/22/2017 ,
| oe a ——rrt—<“T: ee 14:30 AM 02:22 PM}
Contact - Collateral Za Myriam (1227958) By Phone 11/30/2017 | 11/30/2017
| ee — | | / 00:45 AM |10:42 AM |
| Contact - Collateral Za Myriam (1227958) | Other (License or Unlicensed) | 11/28/2017 | 11/30/2017
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Contact - Education B Za | School 41/22/2017 | 11/22/2017 |
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_ Contact - Health Contact Za Myriam (1227958) | Medical Facility 11/30/2017 | 11/30/2017
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SMO6 investigative Assessment

Za Myriam
202004-PRR-845
DCYF-000169

Case (ID): ZA

MYRIAM (481288)

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Filed 11/29/21 Page 30 of 35

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(CONTACTS _ a is Eyres .
wo . . Date/Time Date/Time
Activity Participant Location Occurred Created
Contact - Subject Interview Za Myriam (1227958) | By Phone 41/21/2017 11/22/2017
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Contact - Subject Interview Za Myriam (1227958) = By Phone 11/22/2017 11/22/2017
| | (12:23 PM 02:29PM
Contact - Subject Interview Za Myriam (1227958) | By Phone 12/01/2017 | 12/01/2017
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Contact - Subject Interview Za Myriam (1227958) By Phone 12/05/2017 12/05/2017
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Contact - Subject Interview Za Myriam (1227958) Text Message 12/05/2017 | 12/05/2017
| .03:30 PM 03:46 PM
Contact - Subject interview Za Myriam (1227958) = Parental Home 11/22/2017 12/07/2017
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Contact - Subject interview Za Myriam (1227958) — Children's Administration Office | 11/80/2017 12/07/2017
oe | _11:03 AM | 03:20 PM
Health and Safety Monitoring ‘|B Za | School 03/12/2018 | 03/12/2018
Visit (CA Social Worker) |g _ | 12:00 PM {05:18 PM 18 PM
Za A. | School 03/12/2018 03/12/2018

Health and Safety Monitoring |

' Visit (CA Social Worker) ( - [12:00 PM (05:18 PM
Monthly Supervisor Review | Za Myriam (1227958) Children's Administration Office (11/20/2017 | 11/20/2017
_ | | 01:42PM 01:42 PM
' Monthly Supervisor Review Za Myriam (1227958) | Children's Administration Office 12/30/2017 | 12/30/2017
| | _ 07:04PM (07:07PM |
Monthly Supervisor Review |Za Myriam (1227958) = Children's Administration Office 01/25/2018 01/25/2018
| (14:25AM 11:28AM
Monthly Supervisor Review |Za Myriam (1227958) Children's Administration Office | 02/28/2018 02/28/2018
| | - [07:00 PM__ 07:02 PM
Monthly Supervisor Review |Za Myriam (1227958) | Children's Administration Office 03/12/2018 | 03/12/2018
| | 09:41AM | 09:41 AM
| Referral to Substance Abuse Za Myriam (1227958) = Medical Facility 11/29/2017 11/29/2017 |
L_ _ 10:00 AM 10:16 AM |
RECORDS | REVIEWED | eerie ig as es
Type of Record | Date Reviewed | Comment _
‘Other __ 01/09/2018 - | FTDM Meeting
(SAFETY ASSI i ay |
| Assessment ‘Date ___ Safety Decision | Final Safety Plan a
| 12/01/2017 ___ Safe ee No Safety Plan Requiced _
‘GENERAL | DET AILS

Living Arrangement of the Child(ren)
Single parent household, mother only

Family Characterisi.¢.sConditions
Not applicable

Developmental Stages

Teenage Children ; Single Parent ;
Infant/Preschool children

(DISPOSITION
Disposition: Case Closed

Explain:

ae

SDM Risk Score: Moderately High |

Zz reported that his mother is not doing

IFF was completed in timely manner for both children.
drugs and she does not invite peopie to their home. He reported that he was not at home the date of the allegations
was made. | was staying at a friend's home and collaterals confirmed child's information. SW spoke with
daycare collaterals and there are no concerns about youngest child well-being with the mother at this time. Mother

SMO6 investigative Assessment Case (ID}: ZA MYRIAM (481288) Page 7 of 8

Za Myriam
202004-PRR-845
DCYF-000170
Case 2:21-cv-00746-JCC | Document 28

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CONTACTS _ a Peas
Activity Participant

Child - Initial Face to Face with |B Za |
Child i

Child - Initial Face to Face with Za A.
| Child -

Contact - Education Za |

Contact - Law Enforcement a Myriam (1227958)

Monthly Supervisor Review Myriam (1227958)

Monthly Supervisor 'eview Myriam (1227958)

|
Parent - Bio/Adopt or Guardian Za
Contact (Includes face to face) |

Myriam (1227958)

. Date/Time Date/Time
Location Occurred Created
‘Parental Home 06/12/2019 06/12/2019
(04:35 PM 06:06 PM
Parental Home 06/12/2019 | 06/12/2019
104:35 PM (06:06 PM
By Phone 06/03/2019 07/08/2019
L (11:00 AM (05:26 PM
By Phone 06/03/2019 07/09/2019
| _ [14:00 AM | 04:37 PM
Children's Administration Office 06/03/2019 | 06/03/2019
| 1016 AM 10:17AM
Children's Administration Office 07/12/2019 07/12/2019
| (11:32 AM | 11:33 AM
| Other (License or Unlicensed) = 06/12/2019 | 07/08/2019
| 05:09 PM

04:30 PM

_No Safety Plan Required

\RECORDS REVIEWED

| Type of Record | _Date Reviewed Comment

[Law Enforcement Report _—_—| 06/03/2019 |

SAFETY ASSESSMENT TO 3

_Assessment Date _ | Safety Decision | Final Safety Plan
07/03/2019 | Safe

(GENERAL DETALS a Seales

Living Arrangement of the Chiid(ren)
Single parent household, mather only

Family Characteristics/Conditions
Other financial stress; Inadequate childcare

‘DISPOSITION
Disposition: Case Closed

Explain:

(SERVICES

Developmental Stages

Teenage Children ; Single Parent ;
_Infani/Preschool children ; Blended Family

SDM Risk Score: Moderately High

Is the family being referred to ongoing services that No
| require Children’s Administration to monitor?

| Reasons services are not being provided to the family by Children’s Administration:

| Family Refused Svs-Insufficient Evidence

SMO6 investigative Assessment Case (ID): ZA

Za Myriam
202004-PRR-845
DCYF-000177

| Program Type:

MYRIAM (481288) Page 6 of 6
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‘CONTACTS. ArT PS en ra |
jo | . . Date/Time Date/Time
Activity Participant | Location Occurred Created
Child - Face to Face with Child iz i 7 ee A. ~ Children's Administration Office | 02/24/2020 02/24/2020
|__ aoe | aaa {| a 10:20 AM__|03:36 PM _|
|Child - Face to Face “#4 Child |) Zall fi A. | School 03/12/2020 | 03/12/2020 |
| - — Ee f —|11:45 AM /12:55 PM |
Child - Face to Face with Child |/~ Za & A. Other (License or Unlicensed) — 03/16/2020 03/16/2020
| Sa - 02:30 PM 04:02 PM
Child - Face to Face with Child iz Za A. Other (License or Unlicensed) 03/17/2020 03/18/2020 |
Jo _ | Gpesiare 02:00 PM_ 12:59 PM_
Child - Face to Face with Child © "7 zal) © A. ‘Other (Li (License or Unlicensed) | 03/24/2020 03/24/2020
| - Ll Fe | 03:00 PM =| 03:33 PM
Child - Initial Face to Face with | Za 7 M. Medical Facility 02/09/2020 | 02/09/2020 |
| Child (103402728) _ | 04:00 PM 06:03PM _|
Child - Initial Face to Face with Seana) Zajaey A. | Parental Home | 02/18/2020 02/24/2020
| Child ee _— _ | 05:30PM 03:23 PM |
| Contact - Care Provider or Rta Zak ae A. By Phone 03/17/2020 | 03/17/2020
| Facility Provider | aw tk (02:38PM 02:49PM
Contact - Care Provider or _ | a Zoe A. | By Phone 03/18/2020 | 03/18/2020 |
Facility Provider __ | (ARS I. 09:09AM 09:25AM |
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Contact - Collateral! eee fester! bs Other (License or Unlicensed) 03/12/2020 | 03/12/2020 |
Jo (421643) | 04:44 PM 01:45 PM
Contact - Collateral Za) Myriam (1227958) | By Phone 03/13/2020 | 03/24/2020
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Contact - Education aa 7 A. | School 02/11/2020 | 02/11/2020
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Contact - Education PA] Za LA. School ~ 103/17/2020 03/17/2020
ee oe | 12:00PM —_ 02:53 PM
Contact - Health Contact Za Myriam (1227958) | By Phone 02/10/2020 02/1 0/2020 |
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Contact - Health Contact | Za Myriam (1227958) | By Phone 02/21/2020 | 02/26/2020
Po ee {| 10:30 AM__ 10:41 AM
| Contact - Medical/Dental | Za A. Other (License or Unlicensed) — 03/19/2020 | 03/19/2020
Provider i( | | oe 07:41 AM 07:41AM |
Contact - Parent Bio/Adopt or [Za \ Myriam (1227958) | Other (License or Unlicensed) _ 03/17/2020 | 03/17/2020 |
Guardian - | 08:35AM 08:36 AM
Contact - Parent Bio/Adopt or Za\— Myriam (1227958) By Phone | 03/18/2020 03/18/2020 |
| Guardian - 07:51AM 08:02 AM

‘Contact - Parent Bio/Adopt or | Zaill] Myriam (1227958) | Other (License or Unlicensed) 03/19/2020 | 03/19/2020 |

Guardian _ - | | [08:08 AM (08:08AM
Contact - Referrer | Za Myriam (1227958) | By Phone | 02/10/2020 02/10/2020
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Contact - Referrer | Za) Myriam (1227958) | By Phone 02/11/2020 02/11/2020
oe | — 14:20AM (11:42AM
‘Contact - Social Worker i Za A. | Other (License or Unlicensed) | 04/07/2020 | 04/07/2020
- _ es i! oe '09:10AM 09:11 AM __
[ Court Activities Za Myriam (1227958) | Court 03/17/2020 03/18/2020
j 08:00 AM 09: O5AM_
| Health and Safety Monitoring Za A. | Other (License or Unlicensed) 03/19/2020 | 03/19/2020
| Visit (CA Social Worker) [| CSSaaes 02:10PM 03:52PM

SMO6 investigative Assessment Case (ID): ZA”) MYRIAM (481288) Page 10 of 12

Za Myriam
202004-PRR-845
DCYF-000187
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[CONTACTS

Activity

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EL RTE

Monthly Supervisor Review

Monthly Supervisor Review

Participant
‘Zal Myriam (1227958)
Za) Myriam (1227958)

‘Parent - Bio/Adopt or Guardian | | Za

Initial Contact

Parent - Bio/Adopt or Guardian I

| Initial Contact

Parent - Bio/Adopt or Guardian - |

Initial Contact

Parent - Bio/Adopt or Guardian
Contact (Includes face to face)
Parent - Bio/Adopt or Guardian
Contact (Includes face to face)
Parent - Bio/Adopt or Guardian
_ Contact (Includes face to face)
Parent - Bio/Adcpt c. “ardian
Contact (Includes face ia face)

Myriam (1227958)

Za) Myriam (1227958)
| (421643) -
Za) Myriam (1227958)

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Za

|Zal) | Myriam (1227958)

“Myriam (1227958)

Location

| Children's Administration Office
| Children's Administration Office
|

| Medical Facility

| Parental Home

Social Media

Children's Administration Office

‘Text Message

‘Text Message

Parent - Bio/Adopt or Guardian
Contact (Includes face to face)

Za

Parent - Bio/Adopt or Guardian
_Contact (Includes face to face) _
Parent - Bio/Adopt or Guardian
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Parent - Bio/Adopt or Guardian
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i

| Parent - Bio/Adopt or Guardian | Za

_ Contact (Includes face to face)
Parent - Bio/Adopt or Guardian
Contact (Includes face to face)

Visit - Supervised

Visit - Supervised

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Visit - Supervised

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Myriam (1227958)

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‘Visit - Supervised

C

Za” A.

[RECORDS REVIEWED
Type of Record _

Court Documents

(SAFETY ASSESSMENT _

Assessment Date

03/17/2020

|Date Reviewed _

| 02/11/2020

‘Safety Decision _

Unsafe

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‘Text Message

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Page 33 of 35

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Children's Administration Office

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| Comment

Final Safety Plan
| Out-of-Home

SMO06 investigative Assessment

Za Myriam
202004-PRR-845
DCYF-000188

Case (ID): ZA

MYRIAM (481288)

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The Defendants withheld my children, this infringed my liberty of familial association. The
Defendants could not deliberately remove the children from me and place them into a foster home,
when the Defendants reasonably should have known such an action would cause harm to my
children’s mental, physical, and emotional heatth.

42 USC §1988 provides that every person who, under color ofan y statute, ordinance, regulation,
custom, or usage, of any State or Territory or the District of Columbia, subjects, or causes to be
subjected, any citizen of the United States or other person within the jurisdiction thereof to the
deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall be liable
fo the party injured ir at action at law, suit in equity, or other proper proceeding for redress.

18 USC §242 provides that whoever, under color of any law, statute, ordinance, regulation, or custom,
willfully subjects any person in any State, Territory, Commonwealth, Possession, ot District to the
deprivation of any rights, privileges, or immunities secured or protected by the Constitution or laws of
the United States ... shall be fined under this title or imprisoned not more than one year, or both.

Federal law provides that it is a crime to violate the Rights of a citizen under the color-of-law. You
can be arrested for this crime and you can also be held personally liable for civil damages.
Attempting to cause a person to do something by telling that person that such action is required by
law, when it is not required by law, may be a felony.

18 USC §245 provided that Whoever, whether or not acting under color of law, intimidates or interferes
with any person from participating in or enjoying any benefit, service, privilege, program. facHity, or
activity provided or administered by the United States; [or] applying for or enjoying employment, or any
perquisite thereof, by any agency of the United States; shail be fined under this title, or inprisoned not
more than one year, or both.

Robert Ferguson, Reiko Callner, Patrick Dowd, John March, Jody Becker have failed me and
my children, all of the state of Washington complaint agencies will be held accountable for their
unwritten custom policy of letting a reverse racist cult flourish in a government agency. Allowing
hyper-religious “foster” parents go shopping for traumatized unabused children, who were not
abused until they met a social worker. If all this harassment is not intimidation from a state official
then please someone show me the child abuse, not the crystal ball or fortune teller, but the
constitutional required tangible proof | abused my children.

Why do | have a 4-month-old baby at home but CPS still has my 7-year-old going on 2
years? Judge Ramseyer said if | do not stop saying | am going to sue people, she will terminate my
rights to my 7-year-old and sell her for adoption. Intimate association retaliation, covering forgery,
suborning perjury, so many felonies. | can say what | want and sue who | want, after me my son will,
and then my daughter, and then my other daughter, pretty soon you will have a long line of
mentally ill citizens taking all of the Defendants jobs.

Signed bythe Plaintiff, — ‘ Ww, Wu (ry
11/25/2021 NO
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